                         UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION

 In Re: XUNLIGHT CORPORATION                     Case No. 14-34156
                                                 Chapter 7
                  Debtor.
                                                 Judge Mary Ann Whipple

                                       STATUS REPORT

       Now comes Douglas Dymarkowski, Trustee in the above captioned matter and for his
 Status Report states the following:


       This case remains open for the receipt of the estate’s May 2022 bank statement
 documenting the payment of the unclaimed funds to the court and subsequent submission of the
 TDR, expected by June 15, 2022.


                                                   Respectfully submitted,
                                                   /s/ Douglas Dymarkowski
                                                   Douglas Dymarkowski
                                                   1107 Adams Street
                                                   Toledo, OH 43604
                                                   Ph: (419) 244-8500
                                                   doug.dadlaw@bex.net



                                 CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was sent to the individuals listed below by
electronic transmission via the court’s CM/ECF system on this May 24, 2022.

Office of the US Trustee (Registered address)@usdoj.gov

Tammy G. Lavalette, Attorney for Debtor(s), at tlavalette@cjc-law.com


                                                   /s/ Douglas Dymarkowski




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